     Case 2:19-cv-00767-ECM-SMD Document 55 Filed 01/14/22 Page 1 of 3




          IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF ALABAMA
                       NORTHERN DIVISION

DAVITA M. KEY,                             )
                                           )
      Plaintiff,                           )
                                           )       Civil Case No.:
v.                                                 2:19-cv-00767-ECM-SMD
                                           )
HYUNDAI MOTOR                              )
MANUFACTURING ALABAMA,                     )
LLC; HYUNDAI ENG AMERICA,                  )
INC. and DYNAMIC SECURITY,                 )
INC.,                                      )
                                           )
      Defendants.                          )

                           NOTICE OF APPEARANCE

      Cortlin Lee Bond of Bradley Arant Boult Cummings, LLP hereby provides

notice of her appearance as additional counsel on behalf of Defendant Hyundai ENG

America, Inc. (“HEA”) in this case and hereby requests that she be included on the

distribution list to receive electronic service of all electronic filings in the above-

styled case and that she be served with all non-electronic filings at the address below.

      DATED: January 14, 2022.

                                     Respectfully submitted,


                                     /s/ Cortlin Bond
                                     Cortlin Bond (ASB-6096-X12M)
                                     Email: cbond@bradley.com
                                     One of the Attorneys for Defendant
                                     Hyundai ENG America, Inc.



                                           1
    Case 2:19-cv-00767-ECM-SMD Document 55 Filed 01/14/22 Page 2 of 3




OF COUNSEL:
T. Matthew Miller (ASB-2129-I66T)
Cortlin Bond (ASB-6096-X12M)
BRADLEY ARANT BOULT CUMMINGS LLP
One Federal Place, 1819 Fifth Avenue North
Birmingham, AL 35203
Telephone: (205) 521-8000
Facsimile: (205) 521-8800
Email: mmiller@bradley.com
Email: cbond@bradley.com
Attorneys for Defendant
Hyundai ENG America, Inc.




                                    2
     Case 2:19-cv-00767-ECM-SMD Document 55 Filed 01/14/22 Page 3 of 3




                        CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 14, 2022, the foregoing
was filed with the Clerk of the Court via the CM/ECF which will send notification
of such filing to the following counsel of record:
      Heather Newsom Leonard
      Heather Leonard, PC
      2105 Devereux Circle, Suite 111
      Birmingham, AL 35243
      Email: heather@heatherleonardpc.com
   and
      Leslie Palmer
      Palmer Law, LLC
      104 23rd Street South, Suite 100
      Birmingham, AL 35233
      Email: leslie@palmerlegalservices.com
      Attorneys for Plaintiff
      Wesley C. Redmond
      Susan W. Bullock
      FordHarrison LLP
      420 20th Street North, Ste 2560
      Birmingham, AL 35203
      Email: wredmond@fordharrison.com
      Email: sbullock@fordharrison.com
      Attorneys for Dynamic Security, Inc.
      David J. Middlebrooks
      Whitney R. Brown
      Lehr Middlebrooks Vreeland & Thompson, P.C.
      P.O. Box 11945
      Birmingham, AL 35202
      Email: dmiddlebrooks@lehrmiddlebrooks.com
      Email: wbrown@lehrmiddlebrooks.com
      Attorneys for Hyundai Motor Manufacturing Alabama, LLC

                                                     /s/ Cortlin Bond
                                                     OF COUNSEL




                                        3
